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         Individual appearing without an attorney
         Attorney for: Official Committee of Unsecured
    Creditors
                                             UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

    In re:                                                                      CASE NO.: 2:19-bk-24804-VZ
                                                                                CHAPTER: 11
    YUETING JIA,

                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion1):
                                                                            FIRST INTERIM FEE APPLICATION OF
                                                                            ALVAREZ & MARSAL AS FINANCIAL ADVISOR
                                                                            TO THE OFFICIAL COMMITTEE OF
                                                                  Debtor(s)
                                                                            UNSECURED CREDITORS OF YUETING JIA
                                                                            FOR THE PERIOD FROM OCTOBER 30, 2019
                                                                            THROUGH AND INCLUDING JANUARY 31,
                                                                            2020




PLEASE TAKE NOTE that the order titled ORDER
                                   ON FIRST INTERIM FEE APPLICATION OF ALVAREZ &
MARSAL AS FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS OF YUETING JIA FOR THE PERIOD FROM OCTOBER 30, 2019 THROUGH AND
INCLUDING JANUARY 31, 2020 was lodged on (date) May 12, 2020 and is attached. This order relates to the motion
which is docket number 578.




1
    Please abbreviate if title cannot fit into text field.

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                                                     ATTACHMENT
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      Attorney for: The Official         Committee of Unsecured
 Creditors
                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                       CASE NO.: 2:19-bk-24804-VZ
                                                                              CHAPTER: 11

                                                                               ORDER ON APPLICATION
                                                                               FOR PAYMENT OF:
                                                                                  INTERIM FEES AND/OR EXPENSES
                              YEUTING JIA
                                                                                  (11 U.S.C. § 331)
                                                                                  FINAL FEES AND/OR EXPENSES
                                                                                  (11 U.S.C. § 330)
                                                                              DATE: May 7, 2020
                                                                              TIME: 1:30 p.m.
                                                                              COURTROOM: 1368
                                                                              PLACE: Roybal Federal Building
                                                                                      255 E. Temple Street
                                                                                      Los Angeles, CA 90012
                                                              Debtor(s).

1.   Name of Applicant (specify): ALVAREZ & MARSAL NORTH AMERICA, LLC

2.   This proceeding was heard at the date and place set forth above and was                                Contested              Uncontested

3.   Appearances were made as follows: [No appearances required per Court’s tentative ruling]
     a.        Applicant present in court
     b.        Attorney for Applicant present in court (name):
     c.        Attorney for United States trustee present in court
     d.        Other persons present as reflected in the court record

4.   Applicant gave the required notice of the Application on (specify date): 04/16/2020 [Docket No. 622]



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5.   The court orders as follows:
     a.     Application for Payment of Interim Fees is approved as follows:
        (1)      Total amount allowed: $ 559,416.00
        (2)      Amount or percentage authorized for payment at this time:

     b.        Application for Reimbursement of Interim Expenses is approved and authorized for payment:
                  Total amount allowed: $ 15,986.32

     c.        Application for Payment of Final Fees is approved in the amount of: $

     d.        Application for Reimbursement of Final Expenses is approved and authorized for payment:
                  Total amount allowed: $

     e. (1)          Application is denied
                        in full
                        in part
                        without prejudice
                        with prejudice
          (2) Grounds for denial (specify):



     f.        The court further orders (specify):



                                                                           ###




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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2049 Century Park East, Suite 2900, Los Angeles, CA 90067
A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 12, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) May 12, 2020, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) May 12, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

NO JUDGE’S COURTESY COPY REQUIRED, PER AMENDED GENERAL ORDER 20-20
Hon. Vincent P. Zurzolo
U.S. Bankruptcy Court, Roybal Federal Building
255 East Temple Street, Suite 1360
Los Angeles, CA 90012

                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 12, 2020                 CINDY CRIPE                                                      /s/ Cindy Cripe
 Date                          Printed Name                                                    Signature




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                                              ATTACHMENT TO SERVICE LIST

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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Victor A Sahn on behalf of Creditor Zhijian Dong


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